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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

                      Plaintiff,

 v.                                                               Case No. 10-20014
                                                                  Honorable Denise Page Hood
 VISHNU PRADEEP MEDA (D-9),
 CHARADEEP GUPTA (D-14),
 NABILA MAHBUB (D-16), and
 THEODORE HAILE (D-17),

                      Defendants.

                                                   /

                       ORDER REGARDING VARIOUS MOTIONS

        This matter is before the Court on Defendant’s Motion for Use of Supplemental Jury

 Questionnaire [Docket No. 364, filed July 15, 2011]; Defendant’s Notice of Joinder in Motion

 for Additional Discovery [Docket No. 385, filed August 2, 2011]; Government’s Motion for

 Leave to File Surreply to Defendant’s Motion to Adjourn Trial [Docket No. 390, filed August

 15, 2011].

        For the reasons set forth on the record on August 16, 2011 and September 9, 2011,

        IT IS ORDERED that the Defendant’s Motion for Use of Supplemental Jury

 Questionnaire [Doc. No. 364, filed July 15, 2011] is GRANTED.

        IT IS FURTHER ORDERED THAT that Defendant’s Notice of Joinder in Motion for

 Additional Discovery [Docket No. 385, filed August 2, 2011] is deemed MOOT.




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        IT IS FURTHER ORDERED THAT that Government’s Motion for Leave to File

 Surreply to Defendant’s Motion to Adjourn Trial [Docket No. 390, filed August 15, 2011] is

 GRANTED.

        Dated: December 27, 2011                    s/Denise Page Hood
                                                    DENISE PAGE HOOD
                                                    UNITED STATES DISTRICT JUDGE


        I hereby certify that a copy of the foregoing document was mailed to the attorneys of
        record on this date, Tuesday, December 27, 2011, by electronic and/or ordinary mail.

                                                    s/Julie Owens
                                                    Case Manager, (313) 234-5160




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